                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 3:14-cv-544-FDW
                               (3:12-cr-139-FDW-10)

ANDRES G. HERBAS,                         )
                                          )
                  Petitioner,             )
                                          )
vs.                                       )                         ORDER
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
                  Respondent.             )
__________________________________________)

       THIS MATTER comes before the Court on Petitioner’s Motion to Voluntarily Dismiss

Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence brought under 28 U.S.C. § 2255.

(Doc. No. 11).

       IT IS HEREBY ORDERED that Petitioner’s Motion to Voluntarily Dismiss, (Doc. No.

11), is GRANTED. Petitioner’s § 2255 motion to vacate is DISMISSED without prejudice, and

the Clerk shall terminate this action. Furthermore, the Clerk shall terminate Petitioner’s pending

Motions to Seal (Doc. Nos. 3; 6), as moot.

       IT IS SO ORDERED.


                                         Signed: May 19, 2015




                                                1

      Case 3:12-cr-00139-FDW           Document 374         Filed 05/20/15    Page 1 of 1
